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                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF OHO
                                         EASTERN DIVISION


   UNITED STATES OF AMERICA,                           )        Case No. 1:13CR345
                                                       )
                    Plaintiff,                         )        Judge Christopher A. Boyko
                                                       )
           vs.                                         )        REPORT AND RECOMMENDATION
                                                       )        OF MAGISTRATE JUDGE
   BRANDY M. BATES,                                    )
                                                       )
                    Defendant.                         )        Magistrate Judge Kenneth S. McHargh
                                                       )


           Pursuant to General Order 99-49, this matter having been referred to United States Magistrate

   Judge Kenneth S. McHargh for purposes for receiving, on consent of the parties, the defendant’s offer

   of a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim record

   of the proceedings to be prepared, referring the matter, if appropriate, for presentence investigation, and

   submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be

   accepted and a finding of guilty entered, the following, along with the transcript or other record of the

   proceedings submitted herewith, constitutes the Magistrate Judge’s Report and Recommendation

   concerning the plea of guilty proffered by the defendant.

           1.       On May 21, 2015, the defendant, accompanied by counsel, proffered a plea of

                    guilty to count (s) 79 of the Indictment.

           2.       Prior to such proffer, the defendant was examined as to his competency, advised of the

                    charge and consequences of conviction, informed that the Federal Sentencing

                    Guidelines are advisory and the Court must consider them but the Court may impose

                    any sentence authorized by law, notified of his rights, advised that he was waiving all

                    his rights except the right to counsel, and, if such were the case, his right to appeal, and

                    otherwise provided with the information prescribed in Fed. R. Crim. P. 11.
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                                                      2

           3.      The parties and counsel informed the court about any plea agreement between the

                   parties, the undersigned was advised that, aside from such agreement as described or

                   submitted to the court, no other commitments or promises have been made by any

                   party, and no other agreements, written or unwritten, have been made between the

                   parties.

           4.      The undersigned questioned the defendant under oath about the knowing, intelligent,

                   and voluntary nature of the plea of guilty, and finds that the defendant’s plea was

                   offered knowingly, intelligently, and voluntarily.

           5.      The parties provided the undersigned with sufficient information about the charged

                   offense(s) and the defendant’s conduct to establish a factual basis for the plea.

           In light of the foregoing and the record submitted herewith, the undersigned finds that the

   defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the

   United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned

   recommends that the plea of guilty be accepted and a finding of guilty be entered by the Court.

                                                           s/Kenneth S. McHargh
                                                     Kenneth S. McHargh
                                                     United States Magistrate Judge

   Date: May 21, 2015



           ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

   within fourteen (14) days of receipt of this notice. Failure to file objections within the specified time

   WAIVES the right to appeal the Magistrate Judge’s recommendation. See, United States v. Walters,

   638 F.2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985), reh’g denied, 474 U.S. 1111 (1986).
